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                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION
                                  www.flmb.uscourts.gov

In re:                                                  CASE NO.: 3:18-bk-01164-JAF
                                                        CHAPTER 11
EIHAB H. TAWFIK, M.D., P.A.,
                                                        Emergency Hearing Requested on or before
                Debtor.                                 Friday, April 13, 2018
                                             /

   CERTIFICATION OF NECESSITY OF REQUEST FOR EMERGENCY HEARING

         I HEREBY CERTIFY, as a member of the Bar of the Court, that I have carefully examined

the matter under consideration and to the best of my knowledge, information and belief formed after

reasonable inquiry, all allegations are well grounded in fact and all contentions are warranted by

existing law or a good faith argument for the extension, modification, or reversal of existing law can

be made, that the matter under consideration is not interposed for any improper purpose, such as to

harass, to cause delay, or to increase the cost of litigation, and there is just cause to request a

consideration of the following pleadings on an emergency preliminary basis:

                DEBTOR’S EMERGENCY MOTION FOR AUTHORITY
                     TO PAY PREPETITION WAGE CLAIMS
             AND REQUEST FOR EMERGENCY PRELIMINARY HEARING
                                (Doc. No. 10)

                DEBTOR’S EMERGENCY MOTION FOR AUTHORITY
                    TO PAY OFFICER AFFILIATE SALARIES
             AND REQUEST FOR EMERGENCY PRELIMINARY HEARING
                                (Doc. No. 11)

                        DEBTOR’S EMERGENCY MOTION
                 FOR AUTHORITY TO USE CASH COLLATERAL AND
                REQUEST FOR EMERGENCY PRELIMINARY HEARING
                                  (Doc. No. 9)
             Case 3:18-bk-01164-JAF          Doc 12     Filed 04/12/18      Page 2 of 3



       I CERTIFY FURTHER that there is a true necessity for an emergency preliminary hearing

on the Motion because the relief requested will help ensure Debtor’s orderly entry into Chapter 11

and will avoid many of the possible disruptions and distractions that could divert the Debtor’s

attention from more pressing matters during the initial days of the Chapter 11 case. Moreover,

emergency relief is requested in order to ensure that Debtor will meet its payroll obligations on April

13, 2018.

       I CERTIFY FURTHER that the necessity of this emergency preliminary hearing has not

been caused by a lack of due diligence on my part, but has been brought about only by

circumstances beyond my control or that of my client. I further certify that this motion is filed with

full understanding of F.R.B.P. 9011, and the consequences of noncompliance with same.

RESPECTFULLY SUBMITTED this 12th day of April 2018.

                                                       /s/ Justin M. Luna, Esq.
                                                       Justin M. Luna, Esq.
                                                       Florida Bar No. 0037131
                                                       jluna@lseblaw.com
                                                       Daniel A. Velasquez, Esq.
                                                       Florida Bar No. 0098158
                                                       dvelasquez@lseblaw.com
                                                       Latham, Shuker, Eden & Beaudine, LLP
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                                                       Orlando, Florida 32801
                                                       Telephone: 407-481-5800
                                                       Facsimile: 407-481-5801
                                                       Attorneys for Debtor




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                            MIDDLE DISTRICT OF FLORIDA
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In re:                                               CASE NO.: 3:18-bk-01164-JAF
                                                     CHAPTER 11
EIHAB H. TAWFIK, M.D., P.A.,

               Debtor.
                                           /

                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of CERTIFICATION OF REQUEST
FOR EMERGENCY PRELIMINARY HEARING has been furnished electronically and by U.S.
First Class mail, postage prepaid, to: Eihab H. Tawfik, M.D., P.A., c/o Eihab H. Tawfik, 7394 West
Gulf to Lake Highway, Crystal River, Florida 34429; Central Bank, c/o Megan W. Murray, Esq.,
101 E. Kennedy Blvd., Suite 1700, Tampa, Florida 33602; the twenty largest unsecured creditors as
shown on the matrix attached hereto, and the U.S. Trustee, 400 W. Washington Street, Suite 1100,
Orlando, Florida 32801, this 12th day of April 2018.

                                                /s/ Justin M. Luna
                                                Justin M. Luna, Esq.




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